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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              MCALLEN DIVISION


LETICIA GARZA GALVAN and,                   §
MARTIE GARCIA VELA                          §
                                            §
     Plaintiffs,                            §
                                            §       CIVIL ACTION NO. 7:18-cv-113
                    v.                      §
                                            §
ROLANDO PABLOS, in his official             §
capacity as Texas Secretary of State,       §
and ARMANDINA MARTINEZ,                     §
ALMA GARCIA, ALICIA                         §
DOUGHERTY NO. 1, ALICIA                     §
DOUGHERTY NO. 2, YOLANDA                    §
MARTINEZ,                                   §
                                            §
     Defendants.                            §
                                            §



     DEFEENDANTS ARMANDINA MARTINEZ, ALMA GARCIA, ALICIA
 DOUGHERTY NO. 1, ALICIA DOUGHERTY NO. 2, YOLANDA MARTINEZ’S
             ANSWER TO PLAINTIFFS’ COMPLAINT


      Defendants Armandina Martinez, Alma Garcia, Alicia Dougherty No. 1, Alicia

Dougherty No. 2, Yolanda Martinez (collectively the “Early Vote Ballot Board Defendants”

or “EVBB Defendants”) file their Answer to Plaintiffs’ Complaint, and respectively show

the Court the following:



                                  Discovery Control Plan

      1.     No response is required to the allegations in paragraph No. 1 as they raise

questions of law. However, given the removal of the case to this Court, the state law

discovery plan is inappropriate and inapplicable.



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                                  Introduction

       2.    Defendants admit the allegations contained in this paragraph No. 2.

       3.    Defendants admit the allegations contained in this paragraph No. 3.

       4.    Defendants admit the allegations contained in paragraph No. 4, except as to

the use of the word “incredible”. The rejection of any mail-in ballot was not incredible or

even remarkable. The rejection of any mail-in ballot was made pursuant to Texas law.

       5.    Defendants are without knowledge or information sufficient to form a belief

about the truth of the factual allegations in paragraph No. 5.

       6.    Defendants admit, upon information and belief, that Plaintiffs bring this

action challenging constitutionality of Texas longstanding procedures accepting or

rejecting a voter’s mail-in ballot, the appointment of EVBB members. To the degree that

this allegation requires a factual deny, Defendants deny the allegations in paragraph No.

6.

       7.    No response is required to the allegations in paragraph No. 7 as they raise

questions of law. However, upon information and belief, the state trial court has affirmed

the outcome of the primary elections challenged by the election contest.

       8.    No response is required to the allegations in paragraph no. 8 as they raise

questions of law. Upon information and belief, this issue is now moot as the motion to

consolidate has been denied and the election contest has affirmed the outcome in the

primary election.

                                             Parties

       9.    Defendants are without knowledge or information sufficient to form a belief

about the truth of the factual allegations in paragraph No. 9.

       10.   Defendants are without knowledge or information sufficient to form a belief

about the truth of the factual allegations in paragraph No. 10.

       11.   Upon information and belief, the EVBB defendants admit the allegations
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contained in paragraph No. 11.

       12.   Defendants admit the allegations contained in paragraph No. 12.

       13.   Defendants admit the allegations contained in paragraph No. 13.

                                   Jurisdiction and Venue

       14.   No response is required to the allegations in paragraph No. 14 as they raise

questions of law.

       15.   No response is required to the allegations in paragraph No. 15 as they raise

questions of law.

                                         Background

       16.   Defendants admit the allegations contained in paragraph No. 16.



       Summary of the framework for applying for, and returning, ballot by

mail, and delivery of timely-returned ballots to the Early Voting Ballot Board

       17.   No response is required to the allegations in paragraph No. 17 as they raise

questions of law. To the degree that these are not allegations of the law, Defendants admit

the allegations contained in this paragraph.

       18.   Defendants are without knowledge or information sufficient to form a belief

about the truth of the factual allegations in paragraph No. 18.

       19.   Defendants are without knowledge or information sufficient to form a belief

about the truth of the factual allegations in paragraph No. 19.

       20.   No response is required to the allegations in paragraph No. 20 as they raise

questions of law.

       21.   No response is required to the allegations in this paragraph as they raise

questions of law. To the degree that these are not allegations of the law, Defendants are

without sufficient knowledge to form a belief about the truth of the factual allegations in

paragraph No. 21.
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       22. No response is required to the allegations in paragraph No. 22 as they raise

questions of law. To the degree that these are not allegations of the law, Defendants are

without sufficient knowledge to form a belief about the truth of the factual allegations in

this paragraph.

       23.   No response is required to the allegations in paragraph No. 23 as they raise

questions of law.

       24.   No response is required to the allegations in paragraph No. 24 as they raise

questions of law.

       Procedure for appointment of Early Voting Ballot Board

       25.   No response is required to the allegations in paragraph No. 25 as they raise

questions of law.

       26.   No response is required to the allegations in paragraph No. 26 as they raise

questions of law.

       27.   No response is required to the allegations in paragraph No. 27 as they raise

questions of law.



       Qualifying ballots by mail

       28.   No response is required to the allegations in paragraph No. 28 as they raise

questions of law.

       29.   No response is required to the allegations in paragraph No. 29 as they raise

questions of law.

       30.   No response is required to the allegations in paragraph No. 30 as they raise

questions of law. To the degree that these are not allegations of the law, Defendants admit

this allegation.

       31.   No response is required to the allegations in paragraph No. 31 as they raise

questions of law.
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       32. No response is required to the allegations in paragraph No. 32 as they raise

questions of law. To the degree that these are not allegations of the law, Defendants admit

this allegation.

       33.   No response is required to the allegations in paragraph No. 33 as they raise

questions of law. To the degree that these are not allegations of the law, Defendants admit

this allegation.

       34.   Defendants deny the allegations in paragraph No.34.

       35.   No response is required to the allegations in paragraph No. 35 as they raise

questions of law. To the degree that these are not allegations of the law, Defendants are

without sufficient knowledge to form a belief about the truth of the factual allegations in

this paragraph and, therefore, deny the same.

       The EVBB’s effectively unreviewable authority to reject mail in ballots

contrasted with the process for review of provisional ballots.

       36. No response is required to the allegations in paragraph No. 36 as they raise

questions of law. To the degree that these are not allegations of the law, Defendants admit

this allegation.

       37.   No response is required to the allegations in paragraph No. 37 as they raise

questions of law. To the degree that these are not allegations of the law, Defendants admit

this allegation.

       38.   No response is required to the allegations in paragraph No. 38 as they raise

questions of law. To the degree that these are not allegations of the law, Defendants admit

this allegation.

       39.   No response is required to the allegations in paragraph No. 39 as they raise

questions of law. To the degree that these are not allegations of the law, Defendants admit

this allegation.

       40.   No response is required to the allegations in paragraph No. 40 as they raise
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questions of law.

       41.   No response is required to the allegations in paragraph No. 41 as they raise

questions of law. To the degree that these are not allegations of the law, Defendants admit

this allegation.

       42.   No response is required to the allegations in paragraph No. 42 as they raise

questions of law. To the degree that these are not allegations of the law, Defendants admit

this allegation.

          Count 1: The Lack of a process affording a voter the opportunity to

  cure a deficiency resulting in the rejection of his or her mail violates the

  right to vote and the right to due process and equal protection of the law.

       43.   No response is required to the allegations in paragraph No. 43 as they raise

questions of law.

       44.   No response is required to the allegations in paragraph No. 44 as they raise

questions of law.

       45.   No response is required to the allegations in paragraph No. 45 as they raise

questions of law. To the degree that these are not allegations of the law, Defendants are

without sufficient knowledge to form a belief about the truth of the factual allegations in

this paragraph and, therefore, deny the same.

       46.   No response is required to the allegations in paragraph No. 46 as they raise

questions of law. To the degree that these are not allegations of the law, Defendants are

without sufficient knowledge to form a belief about the truth of the factual allegations in

this paragraph.

       47.   No response is required to the allegations in paragraph No. 47 as they raise

questions of law. To the degree that these are not allegations of the law, Defendants are

without sufficient knowledge to form a belief about the truth of the factual allegations in

this paragraph.
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      48. Defendants deny the allegations in paragraph No. 48.

      Count 2: The lack of uniform standards for reviewing voter signatures

to determine whether a ballot is acceptable violates equal protection

      49.   Defendants deny the allegations in paragraph. No. 49.

      50.   Defendants deny the allegations in paragraph. No. 50.

      51.   Defendants deny the allegations in paragraph. No. 51.

      52.   Defendants deny the allegations in paragraph. No. 52.

      Count 3: The manner in which the Starr County EVBB reviewed the

carrier envelopes for acceptance in this election – whereby each individual

member made unilateral decisions to accept or reject – violates equal

protection.

      53.   Defendants deny the allegations in paragraph. No. 53.

      54.   Defendants deny the allegations in paragraph. No. 54.

      55.   Defendants deny the allegations in paragraph. No. 55.

      56.   Defendants deny the allegations in paragraph. No. 56.

                      Motion to Consolidate with Election Contest

      57.   No response is required to the allegations in paragraph No. 57 as they raise

questions of law. However, the issue is moot as the election contest affirmed the results

of the primary.

      58.   No response is required to the allegations in paragraph No. 58 as they raise

questions of law. However, the issue is moot as the election contest affirmed the results

of the primary.

      59.   No response is required to the allegations in paragraph No. 59 as they raise

questions of law. However, the issue is moot as the election contest affirmed the results

of the primary.


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                                             Prayer

        Defendants need not admit or deny legal argument or legal conclusions contained

in the prayer. To the extent a response is required, Defendants are without knowledge or

information sufficient to form a belief about the truth of the remaining factual

allegations in this paragraph contained in the plaintiffs’ prayer, and, therefore, deny the

same.

                              Defenses to Plaintiffs’ complaint

        1.   Defendants assert the defense of standing to all claims to which that defense

applies.

        2.   Defendants assert that Plaintiffs lack standing to pursue their claims against

the EVBB Defendants because their injuries are not traceable to the EVBB Defendants

and because the EVBB Defendants cannot provide the relief plaintiffs seek

        3.   Defendants assert that Plaintiffs’ claims are not justiciable.

        4.   Defendants assert that Plaintiffs have failed to state a claim upon which relief

can be granted.

        5.   Defendants assert the right to amend these defenses to assert additional

defenses as they may become known to Defendants.



                      Affirmative Defenses to Plaintiff’s complaint

        1.    Defendants assert the defense of Eleventh Amendment immunity to all

claims to which that defense applies.

        2.   Defendants assert sovereign immunity for the actions taken by the EVBB

Defendants in their official capacities.

        3.   Defendants assert the right to amend these affirmative defenses to assert

additional affirmative defenses as they may become known to Defendants.
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                            Defendants’ Prayer

   Defendants request that the Court enter a judgment that Plaintiffs take nothing by

this suit, that Plaintiffs’ claims be dismissed with prejudice, and that defendants be

granted such other and further relief to which they may show themselves to be justly

entitled.




    DATE: May 9, 2018.                Respectfully Submitted,

                                       _/s/ Jose Garza

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                             C ERTIFICAT E    OF   S ERVICE

       I hereby certify that a true and correct copy of the foregoing pleading has been
served on all counsel of record in conformity with the Federal Rules of Civil Procedure via
Certified Mail, Return Receipt Requested, and via facsimile transmission.

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                                          /s/ Jose Garza

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